Case 1:21-cr-00080-AMD Document 167-7 Filed 09/26/23 Page 1 of 2 PageID #: 3195




Ines Shaba Mackey
Delrey Beach, FL


September 21. 2023


U.S. District Judge Ann M. Donnelly
Eastern District of New York
225 Cadman Plaza
East Brooklyn, NY 11201



Dear Honorable Judge Ann Donnelly,

My name is Ines Shaba Mackey, and I am the wife of Douglass Mackey. I am an immigrant from
Albania who moved to the United States five years ago.

It was summer 2019 when I first met Doug. We worked together in a big law firm. I still
remember when he approached me one day and showed the most genuine interest. We had a
pleasant first conversation talking about my country, history, food, traveling, et cetera. He was
nice, polite, friendly, and offered to show me around. I immediately knew I could trust him. We
fell in love with each other slowly, each day, going to baseball games, playing volleyball on the
beach, visiting museums, historical sites, going to church, and hosting barbecues for friends.

As an immigrant from Albania to America, I found myself facing cultural differences, language
barriers, and feelings of insecurity. Being away from my family and friends made it all the more
difficult. It was challenging for me to navigate unfamiliar social norms and customs. Coming
from a small country, I found it difficult to trust people. With Doug, everything was different.
He was warm and welcoming, and made me feel comfortable.

I fell in love with Doug because he is a dedicated, family-oriented person with a pure sense of
humor. With Doug, I always felt stimulated with intellectual conversations. From day one, he
has shown himself to be a true gentleman, loyal, honest, compassionate and a person I can count
on at any time. These qualities have only been confirmed with the passage of time.

One significant instance that comes to mind is when Doug helped me through Covid. When I
found out I got Covid, he immediately took care of me, putting himself at risk and doing
anything he could to help me feel better.

Another time my car broke down on the highway with a blowout tire, putting my life at risk. My
first call was to Doug. He immediately came to the scene of the accident, spoke with the police
officer since I was in shock, and handled everything else. He made me feel taken care of, secure,
and safe.
Case 1:21-cr-00080-AMD Document 167-7 Filed 09/26/23 Page 2 of 2 PageID #: 3196




We got married in January, 2023. I didn’t have to have a wedding, but he insisted on celebrating
the most exciting day of our lives. I’m glad I didn’t get my way and that we ended up having our
Big Fat American-Albanian Wedding. We had American food and Albanian dances. Doug was
the most gracious host, making everybody feel comfortable and welcomed and made sure they
were having the time of their lives. The big surprise to me was that even though he didn’t know a
single move of Albanian dance, he didn’t sit for even one second. Little did I know that I was
coming to America only to marry the most Albanian guy I know.

Since we got married, Doug has been a loving partner, responsible husband, and excited father-
to-be. We are blessed to have our first son on the way. I know he will be a great father because I
have seen him be a wonderful uncle to his nephew, a boy who always likes to talk about the
creatures of the ocean. Doug is always spending time with him, buying him books, teaching him
how to read, taking him to museums, to explore nature, playing sports with him, and taking him
to see the Miami Marlins, the Florida Panthers, or the Miami Heat.

Doug is such a positive person. He always makes sure that I have a smile on my face. He acts
like this not only with me, but also with his grandparents, parents, siblings, and friends – with
everybody he meets. Despite whatever may have happened in his past, I have never known him
to conduct himself in a negative manner. Instead, it is exactly the opposite. I have witnessed him
always trying to be helpful, whether it be a church food drive, giving blood, or volunteering with
the local rehabilitation center. Most importantly, he is always loyal and helpful to friends.

During our time together, I have witnessed that Doug has an unshakeable faith. You can
negotiate almost everything with Doug, but you cannot negotiate missing church on Sunday. He
has encouraged me to grow in the faith more deeply through daily reading and prayer. I think
that becoming a believer has made him a better person and I see him improving himself every
day with Christian principles.

I hope that Your Honor will take these words into consideration when sentencing him. I
respectfully ask that your sentence be merciful and not punitive and consider all the people
whose lives he has touched and who will consequently miss him, and especially how his absence
will affect the life of our new baby to come. I hope that our boy won’t have to suffer the absence
of his father and won’t have to live one day without the love, the caring, and the support of his
father. I believe that severe punishment would be detrimental to us as he is the family’s main
source of income and emotional support.

Thank you for taking the time to read this letter.


Respectfully,
Ines Shaba Mackey
